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1    MICHAEL B. BIGELOW SBN 65211
     Attorney at Law
2    428 J Street, Suite 350
     Sacramento, California 95814
3    Telephone: (916) 443-0217
     Email: mbigelow6401@sbcglobal.net
4
     Attorney for Michael Daves
5

6
                          IN THE UNITED STATES DISTRICT COURT
7                        FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9    UNITED STATES OF AMERICA,         ) No. 2:09-cr-00321-MCE
                                       )
10                        Plaintiff,   )
                                       ) STIPULATION AND ORDER RESETTING
11                  v.                 ) SENTENCING
                                       )
12
     MICHAEL DAVES,                    )
13
                                       ) DATE: February 17, 2011
                          Defendant.   ) TIME: 9:00 AM
14                                     ) CTRM: MCE

15        The United States of America, through counsel of record,

16   Assistant United States Attorney Robin R. Taylor, and defendant

17
     Michael Daves, by an through his counsel of record, Michael
     Bigelow Esq., hereby submit this stipulation and proposed order
18
     rescheduling sentencing presently scheduled for December 16,
19
     2010.   The parties desire to move this appearance to February
20
     17, 2011. This continuance is necessary because other matters
21
     have made it difficult for counsel to meet with Mr. Daves and
22
     discuss sentencing issues and the fact the government’s counsel
23
     is in Washington on the presently scheduled date.
24

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1         The defendant is aware of the request for rescheduling and
2    approves of it.

3

4                                             Respectfully submitted,

5                                             BENJAMIN B. WAGNER
                                              United States Attorney
6
     Dated: December 15, 2010          By:      /s/ Robin Taylor
7                                             ROBIN TAYLOR
                                              Assistant U.S. Attorney
8                                             Attorneys for Plaintiff
9
     DATED: December 15, 2010                 By:/s/ Michael Bigelow
10                                            MICHAEL B. BIGELOW
                                              Attorney for Defendant
11

12                                      ORDER

13
          For good cause shown above,
14

15
          IT IS SO ORDERED.
16

17   DATED: December 15, 2010

18                                 __________________________________
                                   MORRISON C. ENGLAND, JR
19                                 UNITED STATES DISTRICT JUDGE
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